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                                                                          ALBUQUEROI.,}F, NiF\,{/
                                                                                                         MEXICC)

                            IN THE LINITED STATES DISTRICT COURT                   APR    22      2021

                              FOR THE DISTzuCT OF NEW         MEXICO        MtTCt-iEt..f.   k     t:i f,,[.ti$
                                                                                      {ll-L:H14
UNITED STATES OF AMEzuCA,

               Plaintiff,                                CRIMINAL NO.         2l      r,,.t?   Sfir/         ll".tqL
       vs.                                               r8 u.s.c. $$ 13, ll52 and
                                                         N.M.Stat.Ann. $ 30-16-3B: Burglary.
JEREMY ATENCIO and ORLANDO
RODRIGUEZ,

               Defendants.




                                       INDICTMENT
The Grand Jury charges:

       On or about February 2,202I, in Indian Country, in Santa Fe County, in the District          of

New Mexico, the defendants, JEREMY ATENCIO and ORLANDO RODRIGUEZ, non-

Indians, entered a structure of an Indian, the Totavi Gas Station, without atthorization, with the

intent to commit a theft and felony therern.

       In violation of 18 U.S.C. $$ 13,   ll52 andN.M.Stat.Ann.    1978 $ 30-16-38.




                                               A TRUE BILL:


                                                                OF THE GRAND ruRY


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Assistant United States Attorney
